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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 KHADIDAH STONE, et al.,                )
                                        )
       Plaintiffs,                      )
                                        )
 v.                                     )
                                        ) Case No.: 2:21-cv-1531-AMM
 WES ALLEN, in his official             )
 capacity as Alabama Secretary of       )
 State, et al.,                         )
                                        )
       Defendants.                      )

                                     ORDER

       This case is before the court on two motions to dismiss. One was filed by

Secretary of State Wes Allen (“the Secretary”). Doc. 131. The other was filed by

Representative Chris Pringle and Senator Steve Livingston (“the Legislators”) in

their official capacities as House and Senate Chairs of the Alabama Legislature’s

Permanent Legislative Committee on Reapportionment. Doc. 130. The plaintiffs in

this case—Khadidah Stone, Evan Milligan, Greater Birmingham Ministries, and the

Alabama State Conference of the NAACP—oppose the motions. Doc. 138. The

motions are fully briefed. See Docs. 139, 140. For the reasons explained below, the

motions to dismiss are DENIED, except that the motion to dismiss Senator

Livingston is GRANTED on the basis of legislative immunity.
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   I.         BACKGROUND

         A.    The Operative Complaint

         This redistricting case challenges Alabama’s districting maps for State Senate

elections. The plaintiffs allege that “Senate Bill 1, the 2021 Alabama State Senate

Redistricting law (‘SB 1’ . . .), denies Black Alabamians an equal opportunity to

participate in the political process and elect candidates of their choice . . . in both the

Montgomery and Huntsville regions.” Doc. 126 ¶ 2. The plaintiffs contend that this

denial of equal opportunity violates Section Two of the Voting Rights Act of 1965

(“Section Two”). Id.

         Ms. Stone and Mr. Milligan are Black voters who live in Montgomery in State

Senate District 26. Id. ¶¶ 13, 14. Greater Birmingham Ministries “has around 5,000

individual members in Alabama, including Black Alabamians who are registered

voters and reside in the relevant areas in and around Huntsville and Montgomery.”

Id. ¶ 17. The Alabama State Conference of the NAACP has “approximately 5,000

members across the State, approximately 95% of whom identify as Black,” and “[i]t

has Black members who are registered voters and live in the Montgomery and

Huntsville areas.” Id. ¶ 19.

         According to the plaintiffs, SB 1 “unnecessarily packs Black voters into State

Senate District 26 in Montgomery while carving white residents out of the district

and into [Senate] District 25.” Id. ¶ 3. The plaintiffs allege that “Black voting-age

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citizens are sufficiently numerous and geographically compact to form a reasonably

configured majority in an additional State Senate District in the Montgomery area.”

Id. They further assert that “the voting patterns of Black voters in the Montgomery

area are politically cohesive.” Id. And they plead that “white voters in this region of

Alabama vote sufficiently as a bloc typically to defeat the candidates preferred by

Black voters.” Id.

      Similarly, the plaintiffs allege that “SB 1 unnecessarily cracks Black voters in

State Senate Districts 2, 7, and 8 in Huntsville, thereby preserving three districts

where candidates preferred by white voters reliably win.” Id. ¶ 4. Like the allegations

related to the Montgomery-area Senate Districts, the plaintiffs allege that the Black

voting-age population in the Huntsville area is “sufficiently numerous and

geographically compact to form a reasonably configured majority in a State Senate

District,” that its voting patterns “are politically cohesive,” and that “white voters in

this region of Alabama vote sufficiently as a bloc typically to defeat the candidates

preferred by Black voters.” Id.

       The plaintiffs allege that “SB 1 prevents Black voters from participating

equally in the political process and electing candidates of choice.” Id. ¶ 5. They point

to “the totality of the circumstances, including Alabama’s current practices and

ongoing history of racial discrimination in voting, the continuing effect of racial

discrimination on Black people in areas like education, employment, and health,

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continuing racial appeals by political candidates, and the Legislature’s lack of

responsiveness to Alabama’s Black communities.” Id. Therefore, the plaintiffs

contend that “SB 1 violates Section 2 of the [Voting Rights Act] and must be

enjoined in favor of a remedial plan that completely cures the illegal vote dilution

by including additional State Senate districts in Montgomery and Huntsville in

which Black voters have a fair opportunity to elect candidates of their choosing.” Id.

¶ 6.

        The plaintiffs contend that “Alabama’s Black population is sufficiently large

and geographically compact to constitute majorities of the voting-age population in

at least one additional Alabama State Senate district in each of the Montgomery and

Huntsville areas.” Id. ¶ 79. “[Senate] District 25 stretches from the northern edge of

Elmore County down to the southern edge of Crenshaw County.” Id. ¶ 80. But the

plaintiffs allege that Senate District 25 does not “follow[] the county line [and

instead it] splits away from the southwest border of Elmore County, leaving the

remaining portion of the County in another district.” Id. Senate District 25 also

“picks up the eastern and southern parts of Montgomery County.” Id. The plaintiffs

allege that Senate District 25’s “shape becomes irregular in Montgomery, where a

pronounced divot reaches in to capture white communities on the east side of the

City of Montgomery; it becomes increasingly narrow as the district moves south

through the city, then juts under [Senate] District 26 before continuing south into

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Crenshaw [County].” Id. The plaintiffs further allege that “[a]ll but a few of [Senate

District 25’s] precincts are majority white and it has a BVAP [Black voting-age

population] of 29%.” Id. Therefore, the plaintiffs allege that “[Senate] District 25 is

one of the least compact in the State.” Id.

      The plaintiffs allege that “[Senate] District 26 includes much of the City of

Montgomery except the portion that [Senate] District 25 has carved out on the east

side.” Id. ¶ 81. Further, “[Senate] District 26 has a BVAP of 66.1% and contains all

but two of the City’s precincts made up of a majority of Black residents.” Id. The

plaintiffs argue that SB 1 “unnecessarily packs Black voters in Montgomery into

[Senate] District 26, and surgically extracts communities with higher percentages of

white VAPs from the core of Montgomery into [Senate] District 25.” Id. ¶ 83. The

following figures illustrate the lines of Senate Districts 25 and 26. 1




      1
        In these figures, the district lines appear in yellow, county lines in red, and
municipalities in dotted lines. The green shading shows the concentration of the
Black voting-age population—darker shading means that area has a higher
concentration of Black voters. The black boxes contain the district number and the
percentage of Black voting-age population for that district. Id. at 20 n.6.
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Id. at 20.


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      The plaintiffs allege that “[Senate] District 7 begins in the Northwest portion

of Madison County along the Tennessee border to the north and Limestone County

to the west, and then becomes much narrower, snaking south to capture some of the

center of the City of Huntsville” and eventually “run[s] east all the way to the border

of Jackson County.” Id. ¶ 84. This configuration “split[s] the City of Huntsville and

the Black community there into three parts.” Id. The plaintiffs allege that Senate

District 7 “is among the least compact in the Senate, consistent with its highly

irregular shape.” Id. ¶ 85. According to the plaintiffs, Senate District 7 “cuts through

Huntsville’s Black community and splits communities of interest, taking a sharp

eastern turn to capture heavily white communities rather than additional Black

communities in Huntsville, which instead lie in the adjacent Senate Districts 2 and

8, to the west and east, respectively.” Id. The following figure illustrates the lines of

Senate District 7.




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Id. at 22.

       According to the plaintiffs, “[a]lternative district lines could configure the

State Senate map to provide two additional, reasonably configured State Senate

districts comprised of a majority of Black voting-age citizens.” Id. ¶ 88. The

plaintiffs allege that the proposed remedial map preserves “contiguity of all districts,

has permissible population deviations of no more than ±5% for each district, splits

no more counties than the Enacted Plan, has comparable compactness scores to the

Enacted Plan, and satisfies other traditional redistricting criteria, including respect

for communities of interest, better than the current map.” Id. The plaintiffs further

allege that “[v]oters in these districts are members of communities of interest with a

shared history, political beliefs, cultural values, and economic interests.” Id. ¶ 89.

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Those voters’ “history includes a shared legacy of achievement and discrimination,

and shared goals for livable wages, quality healthcare, better sanitation and water

quality, and greater economic opportunity.” Id.

      The plaintiffs allege that “[v]oting is racially polarized across the State.” Id. ¶

94. They allege that “[n]umerous federal courts in Alabama have found that the

State’s elections are racially polarized, including [in 2023] and as agreed by the

State’s expert in that area.” Id. ¶ 95 (citing, e.g., Milligan v. Allen, No. 2:21-CV-

1291-AMM, 2023 WL 5691156, at *52 (N.D. Ala. Sept. 5, 2023)). The plaintiffs

contend that “[t]here is a causal relationship between racial bloc voting and the

State’s history of racial discrimination.” Id. ¶ 96.

      According to the plaintiffs, Montgomery County voting patterns “show

consistent patterns of Black voters voting cohesively, and white voters consistently

voting as a bloc for candidates that defeat the candidates preferred by Black voters

in districts without [Black voting-age population] majorities.” Id. ¶ 97. “For

example, in Montgomery County, in statewide elections over the last decade . . . at

least 85% and usually over 90% of Black voters in Montgomery have consistently

supported the same candidates, while white voters’ support for those candidates

consistently fell below 20%.” Id. “In races in the current majority-white [Senate

District] 25, Black candidates and Black-favored candidates have never won election

to the state Senate over the past decade-plus.” Id. ¶ 98. The plaintiffs contend that in

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Madison County, voting data “show[s] consistent patterns of Black voters voting

cohesively, and white voters consistently voting as a bloc for candidates that defeat

the candidates preferred by Black voters in districts without [Black voting-age

population] majorities.” Id. ¶ 99.

      The plaintiffs allege that Alabama has a pattern and practice of voting

discrimination against Black voters. Id. ¶¶ 104–28. The plaintiffs allege this practice

began “[b]efore the Civil War, [as] Black people were barred from voting in the

state.” Id. ¶ 110. And even though the “Reconstruction Acts and Amendments . . .

forced [Alabama] to allow Black men access to the franchise,” white leaders “us[ed]

violence to deter Black people from political participation and . . . pass[ed] racially

discriminatory laws to cement their control.” Id. ¶¶ 110, 111. The 1901

Constitutional Convention “required literacy tests as a prerequisite to registering to

vote and mandated payment of an annual $1.50 poll tax, which was intended to and

had the effect of disenfranchising Black voters.” Id. ¶ 116 (citing United States v.

Alabama, 252 F. Supp. 95, 99 (M.D. Ala. 1966)). The Voting Rights Act was passed

in 1965, but “[i]n five of the six decennial redistricting cycles between 1960 and

2010, courts or the U.S. Department of Justice found that Alabama’s congressional

map or state legislative maps discriminated against Black voters in violation of the

Constitution or the [Voting Rights Act].” Id. ¶¶ 104, 120.




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      The plaintiffs also allege that Black Alabamians continue to suffer from the

effects of past discrimination, and those effects hinder their ability to participate in

the political process. Id. ¶¶ 129–53. “As one federal court explained, Alabama has

had an ‘unrelenting historical agenda, spanning from the late 1800s to [today], to

keep its black citizens economically, socially, and politically downtrodden, from the

cradle to the grave.’” Id. ¶ 129 (quoting Dillard v. Crenshaw Cnty., 640 F. Supp.

1347, 1357 (M.D. Ala. 1986)). The plaintiffs allege that “Black Alabamians lag

behind white residents in many crucial aspects of public life, including employment,

income, educational attainment, and access to healthcare.” Id. ¶ 130. The plaintiffs

further allege that Black Alabamians are more likely to lack a vehicle and more

likely to rent their home than white Alabamians. Id. ¶¶ 143–44. The plaintiffs allege

that “[i]n 2019, the infant mortality rate for Black infants was 12.0 deaths per 1,000

live births, which is more than twice the white infant mortality rate of 5.6 deaths.”

Id. ¶ 147. The plaintiffs allege that Black Alabamians have a “significantly shorter”

lifespan than white Alabamians. Id. ¶ 148. These disparities, as well as others listed

in the complaint, “hinder Black Alabamians’ opportunity to participate in the

political process today.” Id. ¶ 152 (quoting Singleton v. Merrill, 582 F. Supp. 3d 924,

1022 (N.D. Ala. 2022)).

      The plaintiffs allege that candidates seeking elected office in Alabama have

used “overt and subtle racial appeals” in their campaigns. Id. ¶ 154. For example,

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the plaintiffs cite the statements of former Alabama Congressman Mo Brooks, who

said that “Democrats are waging a ‘war on whites.’” Id. (quoting Singleton, 582 F.

Supp. 3d at 984). In the 2017 special election for U.S. Senate, then–candidate Roy

Moore was “asked to speak about a time when America was great” and stated that

“I think it was great at the time when families were united—even though we had

slavery—they cared for one another . . . Our families were strong, our country had

direction.” Id. ¶ 155.

      In the 2018 race for Chief Justice of the Supreme Court of Alabama, Chief

Justice Tom Parker appeared in an advertisement, which “declared that he opposes

‘the leftist mob tr[ying] to destroy our society’ and featured a clip of

Congresswoman Maxine Waters”—who is a Black congresswoman from California.

Id. ¶ 156 (quoting Ala. State Conf. of NAACP v. Alabama, 612 F. Supp. 3d 1232,

1309 (M.D. Ala. 2020)). In another advertisement, Chief Justice Parker “targeted

immigrant communities: ‘It’s an invasion. What happens if they make it to

Alabama?’” Id. (quoting Ala. State Conf. of NAACP, 612 F. Supp. 3d at 1309). This

advertisement “showed what appeared to be people of color trying to cross the

southern border and concluded with a declaration that Justice Parker ‘stand[s] up for

what we believe’ and ‘stand[s] with us.’” Id. (quoting Ala. State Conf. of NAACP,

612 F. Supp. 3d at 1309).




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      In 2020, former congressman and then–Senate candidate Bradley Byrne

appeared in a video “‘of a white man narrating as images of prominent persons of

color (and only persons of color) are juxtaposed with images of the 9/11 terrorist

attacks, in or on or hovering above a crackling fire,’ which ‘could be understood as

a racial appeal.’” Id. ¶ 157 (quoting Singleton, 582 F. Supp. 3d at 1024).

      The plaintiffs allege that Black Alabamians are underrepresented in public

office. Id. ¶¶ 158–66. The plaintiffs allege that “[e]ven though Black people

comprise approximately 27% of Alabama’s population, only 7 of 35 or 20% of

Alabama’s state senators are Black.” Id. ¶ 159. Additionally, “[n]one of the current

statewide elected officials are Black [and o]nly two Black people have ever been

elected to statewide office.” Id. ¶ 160. “Alabama has never had a Black governor or

a Black senator representing the state in the U.S. Senate.” Id. ¶ 162.

      The plaintiffs allege that elected officials in Alabama fail “to respond to the

particularized needs of the Black communities.” Id. ¶ 165. For example, “[t]he

Alabama Legislature rejected requests to expand Medicaid under the Affordable

Care Act despite the racial gap in insurance coverage [when that] would have insured

an additional 220,000 Alabamians, particularly benefiting Black residents.” Id. The

plaintiffs also allege that Alabama instituted a voter identification law and then




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closed “driver license offices throughout Alabama . . . [and] specifically

concentrated closures in the Black Belt.”2 Id. ¶ 166.

      The plaintiffs further allege that “traditional districting principles can justify

neither the State’s packing of Black voters into [Senate] District 26 in much higher

numbers than necessary to elect candidates of choice, nor the surgical extraction of

white populations from the city core into [Senate] District 25.” Id. ¶ 167. Also,

“traditional districting principles do not explain the three-way division of

Huntsville’s Black voters that enables white-preferred candidates to consistently

prevail in all three districts representing the core of the Huntsville metropolitan

area.” Id.

      On the basis of these allegations, the plaintiffs assert only one claim, a

violation of Section Two. Id. ¶ 175. The “[p]laintiffs seek to enforce their Section 2

rights and remedies through 42 U.S.C. § 1983 and 52 U.S.C. §§ 10302(a), (b), (c).”

Id. ¶ 176.

      B.     Procedural History

      The plaintiffs’ initial complaint alleged that various State Senate and House

Districts are “unconstitutional as violating the Fourteenth Amendment to the United


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       The Black Belt is an area of the state that is “named for the region’s fertile
black soil. The region has a substantial Black population because of the many
enslaved people brought there to work in the antebellum period. All the counties in
the Black Belt are majority- or near majority-BVAP.” Singleton, 582 F. Supp. 3d at
953 (cleaned up).
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States Constitution as racial gerrymanders.” Doc. 1 at 41. Therefore, the plaintiffs

requested that a three-judge court hear this case as required by 28 U.S.C. § 2284(a),

id. ¶ 9, and the Chief Judge of the Eleventh Circuit convened the three-judge court,

Doc. 5. The plaintiffs’ first three amended complaints contained constitutional

allegations. See Docs. 54, 57, 83.

      On May 20, 2022, the court held a status conference. During that status

conference, a member of the three-judge court asked whether this case will present

“legislative immunity issues that we have to deal with” because of “discussion

between the parties to that effect.” Doc. 115-1 at 19, Tr. 18:2–4. In response to that

question, the attorney representing Senator Jim McClendon and Representative

Pringle—the chairs of the Permanent Legislative Committee on Reapportionment at

the time of the hearing—said that “the chairs have obviously waived their

immunity.” Id., Tr. 18:8–9.

      On December 6, 2023, the plaintiffs filed their Fourth Amended Complaint.

Doc. 126. This complaint asserts one claim under Section Two and does not assert

any constitutional claims. Accordingly, the three-judge court was dissolved, and this

action returned to the undersigned district judge to whom the case was originally

assigned. Doc. 127 at 1.

      The motion is fully briefed. Docs. 130, 131, 138, 139, 140.




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   II.        LEGAL STANDARDS

         A.    Rule 12(b)(6)

         A complaint must provide “a short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A complaint need not

make “detailed factual allegations;” its purpose is only to “give the defendant fair

notice of what the . . . claim is and the grounds upon which it rests.” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (cleaned up). To survive a motion to dismiss

under Rule 12(b)(6), a complaint’s “[f]actual allegations must be enough to raise a

right to relief above the speculative level, . . . on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Id. To test the

complaint, the court discards any “conclusory allegations,” takes the facts alleged as

true, McCullough v. Finley, 907 F.3d 1324, 1333 (11th Cir. 2018), and “draw[s] all

reasonable inferences in the plaintiff’s favor,” Randall v. Scott, 610 F.3d 701, 705

(11th Cir. 2010). These facts and inferences must amount to a “plausible” claim for

relief, a standard that “requires the reviewing court to draw on its judicial experience

and common sense.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

         B.    Rule 12(b)(1)

         “Because a motion to dismiss for lack of standing is one attacking the district

court’s subject matter jurisdiction, it is brought pursuant to Rule 12(b)(1).” Region

8 Forest Serv. Timber Purchasers Council v. Alcock, 993 F.2d 800, 807 n.8 (11th

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Cir. 1993). “Attacks on subject matter jurisdiction under” Rule 12(b)(1) of the

Federal Rules of Civil Procedure “come in two forms.” Lawrence v. Dunbar, 919

F.2d 1525, 1528–29 (11th Cir. 1990). “Facial attacks on the complaint require the

court merely to look and see if the plaintiff has sufficiently alleged a basis of subject

matter jurisdiction, and the allegations in his complaint are taken as true for the

purposes of the motion.” Id. at 1529 (cleaned up). “Factual attacks, on the other

hand, challenge the existence of subject matter jurisdiction in fact, irrespective of

the pleadings, and matters outside the pleadings, such as testimony and affidavits,

are considered.” Id. (cleaned up).

   III.   ANALYSIS

      The Secretary asserts that this case should be dismissed because (1) Section

Two contains no private right of action, and (2) the plaintiffs fail to state a claim

under Section Two. The Legislators make those arguments and two more: (3) the

claims against them should be dismissed because they have legislative immunity,

and (4) the plaintiffs lack standing.

      A. Private Right of Action

      The Secretary and Legislators first argue that the court must dismiss the

plaintiffs’ Section Two claim because Section Two lacks a private right of action.

The Secretary contends that because Section Two does not unambiguously confer

new individual rights, “there is no basis for a private suit, whether under § 1983 or

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under an implied right of action.” Doc. 131 at 12 (quoting Gonzaga Univ. v. Doe,

536 U.S. 273, 286, 290 (2002)). The Secretary further argues that the Voting Rights

Act lacks any clear evidence that Congress intended to provide a private right of

action under Section Two. Id. at 27. The Legislators echo these arguments. See Doc.

130 at 11–20.

      The plaintiffs respond that “[t]he Supreme Court has consistently read the

[Voting Rights Act] to contain a private right of action . . . the Court has recognized

Congress’s codification of this right . . . [and] Alabama proffers no valid reason or

basis to depart from it.” Doc. 138 at 16. The plaintiffs further contend that Section

Two contains the necessary rights-creating language and provides for a private

remedy. Id. at 22–23. Additionally, the plaintiffs argue that “statutory stare decisis

similarly compels affirming Section 2’s private right of action.” Id. at 32.

      On reply, the Secretary contends that “[t]he text, structure, and history are

clear: Section 2 confers no private rights and no private remedies.” Doc. 139 at 3.

Further, “[t]he Supreme Court has never said otherwise, and non-binding cases

suggesting a different conclusion are wrong.” Id. The Legislators adopt these

arguments. Doc. 140 at 15.

      The Secretary and Legislators identify no controlling precedent holding that

Section Two does not contain a private right of action. On the other hand, accepting

the defendants’ argument would require the court to ignore decades of controlling

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Section Two jurisprudence. “Since the passage of the Voting Rights Act, federal

courts across the country, including both the Supreme Court and the Eleventh

Circuit, have considered numerous Section Two cases brought by private plaintiffs.”

Singleton, 582 F. Supp. 3d at 1031 (collecting cases). The Secretary and Legislators

can identify only a single instance in which a circuit court and district court held that

Section Two did not provide for a private right of action. See Ark. State Conf.

NAACP v. Ark. Bd. of Apportionment, 86 F.4th 1204, 1207 (8th Cir. 2023), aff’g 586

F. Supp. 3d 893, 905 (E.D. Ark. 2022), reh’g en banc denied, No. 22-1395, 2024

WL 340686 (8th Cir. Jan. 30, 2024).

      Further, “[a] ruling that Section Two does not provide a private right of action

would badly undermine the rationale offered by the Court in Morse [v. Republican

Party of Va., 517 U.S. 186 (1996)].” Singleton, 582 F. Supp. 3d at 1031. In Morse,

the Supreme Court held that Section Ten of the Voting Rights Act has a private right

of action, and reasoned that:

      Although § 2, like § 5, provides no right to sue on its face, “the existence
      of the private right of action under Section 2 . . . has been clearly
      intended by Congress since 1965.” S. Rep. No. 97–417, at 30. We, in
      turn, have entertained cases brought by private litigants to enforce § 2.
      It would be anomalous, to say the least, to hold that both § 2 and § 5
      are enforceable by private action but § 10 is not, when all lack the same
      express authorizing language.

517 U.S. at 232 (opinion of Stevens, J., with one justice joining) (some internal

citations omitted); accord id. at 240 (opinion of Breyer, J., with two justices joining).

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Even if these statements are or might be dicta, this court is “obligated to respect it.”

Henderson v. McMurray, 987 F.3d 997, 1006 (11th Cir. 2021) (Pryor, C.J.); see also

Schwab v. Crosby, 451 F.3d 1308, 1325 (11th Cir. 2006) (“[T]here is dicta and then

there is dicta, and then there is Supreme Court dicta.”).

      Moreover, as the Supreme Court reasoned in Allen v. Milligan, 599 U.S. 1, 39

(2023), “statutory stare decisis counsels our staying the course.” “Congress is

undoubtedly aware of [the Court] construing § 2 to apply to districting challenges.”

Id. Some of those challenges—including the challenge in Allen—were brought by

private parties. See id. at 16. “[S]tare decisis carries enhanced force when a decision

. . . interprets a statute . . . [because] unlike in a constitutional case, critics of our

ruling can take their objections across the street, and Congress can correct any

mistake it sees.” Kimble v. Marvel Ent., LLC, 576 U.S. 446, 456 (2015). Because

“Congress has spurned multiple opportunities to reverse” the Supreme Court’s and

lower courts’ treatment of private-party-plaintiff Section Two actions, the Supreme

Court itself would require “a superspecial justification to warrant revers[al].” Id. at

456, 58. No superspecial justification exists here.

      The defendants’ motion to dismiss the plaintiffs’ complaint on the ground that

Section Two does not provide a private right of action is DENIED.




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      B. The Plaintiffs’ Section Two Claim

      Next, the Secretary and Legislators argue that the plaintiffs fail to state a

Section Two claim. According to the Secretary, the “[p]laintiffs must allege facts

plausibly showing that members of a minority group ‘have less opportunity than

other members of the electorate [1] to participate in the political process and [2] to

elect representatives of their choice.’” Doc. 131 at 31 (quoting 52 U.S.C. § 10301(b))

(cleaned up). The Secretary argues that the “[p]laintiffs have proven neither.” Id. at

32. The Legislators share this view. See Doc. 130 at 20–29.

      The plaintiffs respond that these arguments “depend on two faulty premises.”

Doc. 138 at 39. First, the “[d]efendants’ arguments as to both equal opportunity to

participate in the political process and to elect candidates of choice ignore the correct

standard for evaluating pleadings on motions to dismiss for failure to state a claim.”

Id. at 40. Second, “Alabama’s substantive arguments are again ‘not about the law as

it exists’ but rather ‘about Alabama’s attempt to remake . . . § 2 jurisprudence

anew.’” Id. (quoting Allen, 599 U.S. at 23).

      “To succeed in proving a § 2 violation under Gingles, plaintiffs must satisfy

three ‘preconditions.’” Allen, 599 U.S. at 18 (quoting Thornburg v. Gingles, 478

U.S. 30, 50 (1986)). “First, the ‘minority group must be sufficiently large and

[geographically] compact to constitute a majority in a reasonably configured

district.’” Id. (quoting Wis. Legislature v. Wis. Elections Comm’n, 595 U.S. 398, 402

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(2022)). “Second, the minority group must be able to show that it is politically

cohesive.” Id. (quoting Gingles, 478 U.S. at 51). “And third, ‘the minority must be

able to demonstrate that the white majority votes sufficiently as a bloc to enable it .

. . to defeat the minority’s preferred candidate.’” Id. (quoting Gingles, 478 U.S. at

51).

        Plaintiffs who satisfy the three Gingles preconditions “must also show, under

the ‘totality of circumstances,’ that the political process is not ‘equally open’ to

minority voters.” Id. (quoting Gingles, 478 U.S. at 45–46). Courts rely on the

following factors (the “Senate Factors”) to evaluate the totality of circumstances:

        1. “the extent of any history of official discrimination in the state or
        political subdivision that touched the right of the members of the
        minority group to register, to vote, or otherwise to participate in the
        democratic process”;

        2. “the extent to which voting in the elections of the state or political
        subdivision is racially polarized”;

        3. “the extent to which the state or political subdivision has used
        unusually large election districts, majority vote requirements, anti-
        single shot provisions, or other voting practices or procedures that may
        enhance the opportunity for discrimination against the minority group”;

        4. “if there is a candidate slating process, whether the members of the
        minority group have been denied access to that process”;

        5. “the extent to which members of the minority group in the state or
        political subdivision bear the effects of discrimination in such areas as
        education, employment and health, which hinder their ability to
        participate effectively in the political process”;



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      6. “whether political campaigns have been characterized by overt or
      subtle racial appeals”;

      7. “the extent to which members of the minority group have been
      elected to public office in the jurisdiction”;

      8. “whether there is a significant lack of responsiveness on the part of
      elected officials to the particularized needs of the members of the
      minority group”; and

      9. “whether the policy underlying the state or political subdivision’s use
      of such voting qualification, prerequisite to voting, or standard, practice
      or procedure is tenuous.”

Singleton, 582 F. Supp. 3d at 969–70 (quoting Gingles, 478 U.S. at 36–37 (quoting

in turn S. Rep. No. 97-417 at 28–29)).

      The plaintiffs plead sufficient facts to clear the plausibility bar. The plaintiffs

allege that Black voters are sufficiently large and geographically compact to form a

reasonably configured majority in a district in the Montgomery and Huntsville areas.

See Doc. 126 ¶¶ 3, 4, 79, 172. The plaintiffs allege that Black voters are politically

cohesive. See id. ¶¶ 3, 4, 97, 99. And the plaintiffs allege that the white majority

votes sufficiently as a bloc to typically defeat the candidates preferred by Black

voters. See id. ¶¶ 3, 4, 96, 97, 99, 171. The plaintiffs also plead factual allegations

about the Senate Factors to assert that the political process in Alabama is not equally

open to Black voters. See id. ¶¶ 104–67.

      Accordingly, the defendants’ motion to dismiss the plaintiffs’ operative

complaint for failure to state a claim is DENIED.

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      C. Legislative Immunity

      The Legislators argue that the claims against them must be dismissed because

they are absolutely immune from suit. Doc. 130 at 8. The Legislators contend that

Representative Pringle has legislative immunity because the plaintiffs’ operative

complaint “challenges no House Districts” and he “played only a ministerial role as

House Chair . . . in passage of the challenged Senate districts.” Id. at 9. The

Legislators further argue that Representative Pringle’s actions “were inherently

legislative, [and] he has absolute legislative immunity.” Id. at 10.

      Representative Pringle “acknowledge[s] that at the May 20, 2022 status

conference, in response to a question from the Court, counsel for the Chairs indicated

that Rep. Pringle and Sen. McClendon ‘have obviously waived their [legislative]

immunity.’” Id. (footnote omitted) (quoting Doc. 115-1 at 19, Tr. 18:8–9). That

statement “accurately reflected Rep[resentative] Pringle’s intent at the time,” but his

intention changed after the case was “stayed for over a year.” Id. Representative

Pringle also asserts that because legislative immunity is a personal defense, it “can

be waived only by the legislator himself or herself.” Id. at 11.

      Senator Livingston points out that “[a]t the time of the May 20, 2022 status

conference, [he] was not Senate Chair of the Committee, was not a party to this case,

and was not represented by the Committee’s counsel.” Id. Since he became Senate




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Chair, “he has not engaged in litigation other than to seek dismissal of this case and

assert immunity.” Id.

      The plaintiffs respond that the Legislators have implicitly waived immunity

by “willingly and actively engag[ing] in the litigation.” Doc. 138 at 48, 50. The

plaintiffs argue that the Legislators “filed their own Answer to Plaintiffs’ original

Complaint [Doc. 53], and joined Defendants’ Opposition to Plaintiffs’ Motion for

Recusal [Doc. 45] and Defendants’ Response to Plaintiffs’ Motion to Modify Stay

[Doc. 73].” Id. at 50. According to the plaintiffs, the Legislators took these actions

without giving the “slightest indication that they were participating in the litigation

for the limited purpose of asserting legislative immunity.” Id. (quoting Singleton v.

Merrill, 576 F. Supp. 3d 931, 941 (N.D. Ala. 2021)).

      The plaintiffs further contend that the Legislators explicitly waived immunity

during the May 20, 2022 status conference. Id. They argue that the Legislators “cite

no relevant authority that a party can conditionally waive legislative immunity

(without asserting any conditions), then later revoke this waiver upon a ‘change of

intent.’” Id. at 51. They also contend that the Legislators “cannot revive previously

waived legislative immunity simply by appointing a new member as chair” because

such an allowance “would permit a committee chair to engage in substantial

litigation on behalf of their committee, then on the eve of trial, appoint a new chair

to claim legislative immunity as a shield.” Id. at 53.

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        The Legislators reply that courts cannot impute waiver due to the mere

passage of time during litigation, that they have not engaged in “extensive litigation

conduct,” and that counsel’s statements during the May 20, 2022 status conference

did not constitute a waiver. Doc. 140 at 3–4 (quoting Singleton, 576 F. Supp. 3d at

931).

        Legislative immunity is a “personal defense.” Scott v. Taylor, 405 F.3d 1251,

1255 (11th Cir. 2005). “Although the Supreme Court has not directly decided the

question whether legislative immunity can be waived in a civil action, federal

jurisprudence reflects no doubt that it can.” Singleton, 576 F. Supp. 3d at 940

(footnote omitted) (collecting cases). And in a criminal case, the Supreme Court held

a legislator’s waiver of legislative immunity would require an “explicit and

unequivocal renunciation of the protection.” United States v. Helstoski, 442 U.S.

477, 491 (1979).

        Through    his   counsel,    Representative    Pringle     “explicit[ly]    and

unequivocal[ly]” renounced the protection of immunity. See id. His counsel’s

unqualified statement that “the chairs have obviously waived their immunity”

neither hinted nor equivocated on the point. Doc. 115-1 at 19, Tr. 18:8–9.

        And a separate and independent waiver occurred when Representative Pringle

participated in the litigation. Representative Pringle answered the plaintiffs’

complaint, joined an opposition to the plaintiffs’ motion to recuse another judge, and

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joined a response to the plaintiffs’ motion to modify the stay in this case. In each of

those filings, Representative Pringle did not give the “slightest indication that [he

was] participating in the litigation for the limited purpose of asserting legislative

immunity.” Singleton, 576 F. Supp. 3d at 941. If the court were now to allow

Representative Pringle to claim immunity, it would “turn what has heretofore been

the shield of legislative immunity into a sword.” Powell v. Ridge, 247 F.3d 520, 525

(3d Cir. 2001).

      The immunity analysis is different for Senator Livingston. Senator Livingston

was not involved in this litigation during the litigation conduct that waived

Representative Pringle’s immunity, nor when Representative Pringle’s counsel

explicitly waived his immunity. Because legislative immunity is a personal defense,

the court will not impute either of those waivers to Senator Livingston. See Scott,

405 F.3d at 1255. Senator Livingston’s only participation in this case has been to

file a motion to dismiss, which is based in part on his assertion of legislative

immunity, and a reply brief on the same grounds. See Docs. 130, 140.

      Under controlling precedent, when absolute legislative immunity applies, the

court must dismiss a defendant who seeks dismissal on that ground. See Scott, 405

F.3d at 1252. Therefore, Senator Livingston’s motion to dismiss the claims brought

against him on the basis of legislative immunity is GRANTED. Representative

Pringle’s motion to dismiss on the basis of legislative immunity is DENIED.

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      D. Standing

      Finally, the Legislators argue that the plaintiffs lack standing. Doc. 130 at 5.

The Legislators cite a concurring opinion for the proposition that, “in a suit against

state officials for injunctive relief, a plaintiff does not have Article III standing with

respect to those officials who are powerless to remedy the alleged injury.” Id.

(quoting Scott, 405 F. 3d at 1259) (Jordan, J. concurring) (emphasis omitted). The

Legislators contend that they cannot provide the relief that the plaintiffs seek: “[t]hey

cannot declare SB1 in violation of the Voting Rights Act; they have no authority to

administer elections; they cannot cause the Legislature to enact new Senate districts,

and they cannot make preclearance submissions.” Id. at 5–6 (footnote omitted).

      The plaintiffs respond that the Legislators “direct the very Committee

responsible for overseeing the redistricting process, which, in 2021, resulted in the

enactment of SB1—the original source of Plaintiffs’ injuries.” Doc. 138 at 53–54.

They contend that their “injuries are directly traceable to the [Legislators]’ conduct

in constructing and adopting the State Senate districts that violate Plaintiffs’ rights

under the [Voting Rights Act].” Id. at 55. And the plaintiffs argue that the

Legislators’ position “that they ‘cannot provide any relief sought by Plaintiffs’

directly contradicts the position they asserted less than two years ago in their motion

to intervene in Caster v. Allen, 2:21-CV-1536-AMM (N.D. Ala. Dec. 20, 2021),

[Doc. 60].” Id. at 56.

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      On reply, the Legislators concede that they “have a relationship to the subject-

matter of this lawsuit,” but assert that “they are simply the wrong defendants to grant

[p]laintiffs the relief that they seek.” Doc. 140 at 15. Because they cannot provide

redress to the plaintiffs’ alleged injuries, the Legislators contend that the plaintiffs

lack standing to sue them. Id.

      The plaintiffs have standing to sue the Legislators. The Legislators’ standing

argument is based on a concurring opinion, not controlling precedent. And under

controlling precedent—namely, the Supreme Court’s test for standing laid out in

Lujan v. Defenders of Wildlife. 504 U.S. 555 (1992)—the plaintiffs have standing.

Lujan provides a three-part standing test. See id. at 560–61. To establish standing, a

plaintiff first “must have suffered an injury in fact—an invasion of a legally

protected interest which is (a) concrete and particularized, and (b) actual or

imminent, not conjectural or hypothetical.” Id. at 560 (cleaned up). The Legislators

do not contend that the plaintiffs do not satisfy this requirement.

      The second part of the standing analysis asks whether there exists “a causal

connection between the injury and the conduct complained of.” Id. The plaintiff’s

injury must be traceable to the defendant’s actions “and not . . . th[e] result [of] the

independent action of some third party not before the court.” Id. (quoting Simon v.

E. Ky. Welfare Rights Org., 426 U.S. 26, 41–42 (1976)). The plaintiffs’ injury in this

case—allegedly unlawful voting maps—were the result of the Legislators’ alleged

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actions—“constructing and adopting the State Senate districts that violate plaintiffs’

rights under the [Voting Rights Act].” Doc. 138 at 55. The plaintiffs’ alleged injury

is therefore traceable to the Legislators’ conduct.

      The third and final part of the standing analysis is redressability. “[I]t must be

‘likely,’ as opposed to merely ‘speculative,’ that the injury will be ‘redressed by a

favorable decision.’” Lujan, 504 U.S. at 561 (quoting Simon, 426 U.S. at 38, 43). In

this litigation, there is a clear path to redress involving the Legislators if the court

were to rule for the plaintiffs. Their requested relief would “requir[e] the enactment

of [Voting Rights Act]-compliant districting plans for the State Senate.” Doc. 138 at

58. Under Supreme Court precedent, if the plaintiffs were to prevail, “the Alabama

Legislature . . . should have the first opportunity to draw that plan.” Singleton, 582

F. Supp. 3d at 936 (citing North Carolina v. Covington, 138 S. Ct. 2548, 2554

(2018)). The Legislators are Chairs of the Alabama Legislature’s Permanent

Legislative Committee on Reapportionment, which has statutory authority to

“engage in such activities as it deems necessary for the preparation and formulation

of a reapportionment plan . . . and readjustment or alteration of Senate and House

districts and of congressional districts of the state.” Ala. Code § 29-2-52(c).

Additionally, that committee has statutory authority to “receive from any court . . .

such assistance and data as will enable it to properly carry out its powers and duties

hereunder.” Ala. Code § 29-2-52(h).

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      Therefore, the Legislators’ motion to dismiss on the grounds that the plaintiffs

lack standing is DENIED.

   IV.    CONCLUSION

      The Secretary’s motion to dismiss is DENIED. The Legislators’ motion to

dismiss is DENIED in all respects except that the motion to dismiss all claims

against Senator Livingston is GRANTED.

      The previously filed motions to dismiss, Docs. 58, 92, 93, are DENIED as

MOOT.

      This case is SET for a bench trial to commence at 9:00 a.m. Central time on

November 12, 2024 in Courtroom 8B of the Hugo Black U.S. Courthouse in

Birmingham, Alabama. The parties are ORDERED to meet and confer and submit

a joint proposed scheduling order for pretrial deadlines within fourteen days of the

date of this order.

      DONE and ORDERED this 13th day of February, 2024.



                                    _________________________________
                                    ANNA M. MANASCO
                                    UNITED STATES DISTRICT JUDGE




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